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From: Brynne Cramer <brynnecramer@wsdr4.org>
To: Elizabeth Barmeier <elizabeth.barmeier@tvstl.com>
Subject: KTVI Inquiring About Possible Book Challenges
Date: November 22, 2021 at 10:28:14 AM CST

Hi Elizabeth!

Thank you for reaching out!


We have three
books being challenged and going through the review
process:




        Lawn Boy Jonathan
        Evison



        The Bluest Eye Toni
        Morrison



        Gabi, A Girl In
        Pieces by Isabel Quintero




We also had the
following that were challenged and removed by the librarians
without going through the review process:




                                                                Exhibit 14
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      All Boys Aren't Blue
      by George M. Johnson


      Fun Home: A Family
      Tragicomic by Alison Bechdel

      Heavy: An
      American Memoir Kiese Laymon

Let me know if I can help with anything in
the future!


On Thu, Nov 18, 2021 at 5:26 PM Elizabeth Barmeier <Elizabeth.Barmeier@tvstl.com>
wrote:
 Hi Brynne,

  This is Elizabeth with Fox 2 News and we recently reported about
  how Lindbergh School District is conducting a review of whether certain books
  should be removed from the district’s high school library. We're reaching out to
  other school districts to see if they are doing the same.

  Has Wentzville School District received any challenges on books in the
  district's library within the past two academic years?

  I would appreciate any information that you can provide.

  Thank you and I look forward to hearing back.

  Elizabeth Barmeier
  Web Producer
  Nexstar Media Inc.

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                                                                   Exhibit 14
